                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



                                                                        Civil Action
                                                                        No: 13-cv-13235-WGY

                                          COLAJ
                                          Plaintiff

                                              v.

                       SEA WATCH INTERNATIONAL, LTD. et al
                                   Defendant



                     SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


        The Court having been advised on June 19, 2015 that the above-entitled action has been
settled:
        IT IS ORDERED that this action is hereby dismissed without cost and without
prejudice to the right of any party, upon good cause shown, to reopen the action within thirty
(30) days if settlement is not consummated.


                                                                 By the Court,


                                                                   /s/ Jennifer Gaudet
                                                                 Deputy Clerk




June 22, 2015


To: All Counsel
